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1
                                UNITED STATES DISTRICT COURT
2                                   DISTRICT OF COLUMBIA
3

4
     TEKWAY, INC., an Illinois corporation,
5    4104 Sterling Road
     Downers Grove, IL 60515
6                                                    Case No.:
7     Plaintiffs,
                                                     COMPLAINT
8            vs.
9
     UNITED STATES CITIZENSHIP AND
10   IMMIGRATION SERVICES,
     20 Massachusetts Ave NW,
11   Washington DC 20529
12

13
                               Defendant.
14

15

16                                            COMPLAINT

17

18
                                            I. INTRODUCTION
19
             1. This is an action brought pursuant to section 10b of the Administrative Procedure Act,
20
     5 U.S.C. § 702, et. seq., seeking to hold unlawful and set aside the decisions of the California
21

22   Service Center (CSC) Director of the United States Citizenship and Immigration Services (USCIS)

23   in File Nos.WAC1815050083 and WAC1815650017, both issued November 13, 2018, denying
24
     Tekway, Inc.’s Forms I-129, Petition for Nonimmigrant Worker upon behalf of Jagadish Balusu
25
     and Vinay Swarna, respectively, on the grounds that both decisions were arbitrary and capricious.
26

27

28                                            II. PLAINTIFFS


                                                     1
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1            2. TEKWAY, INC. (Tekway) is an Illinois corporation which has been providing

2    Information Technology services and resources in the United States since 2005. Tekway deploys
3
     human intellectual capital to meet an organization's information technology goals using the
4
     optimal mix of internal staff, outside consulting resources, and project outsourcing.
5

6
                                               III. DEFENDANT
7
             3. The defendant, United States Citizenship and Immigration Services (USCIS), is an
8
     agency of the United States government residing in the District of Columbia.
9

10
                                             IV. JURISDICTION
11
             4. This being a civil action against the United States arising under the Immigration and
12

13   Nationality Act, 8 U.S.C. § 1101, et. seq., and the Administrative Procedure Act, 5 U.S.C. § 701,

14   et. seq., both laws of the United States, original jurisdiction over this matter is vested in this Court
15
     by 28 U.S.C. § 1331.
16

17
                                                V. STANDING
18

19
             5. Tekway has a legally protected interest in a decision by the USCIS on its petition upon
20
     behalf of the employees named below which is not arbitrary and capricious, nor an abuse of
21

22   discretion, and which is in accordance with law, per 5 U.S.C. § 706(2), and the invasion of this

23   right has caused it concrete and particularized injury in that as a result of this invasion Tekway
24   will be unable to employ these indviduals after the expiration of their current employment
25
     authorization and so will be unable to derive the revenues it would otherwise obtain from the sale
26
     of their services to its clients; (2) there is a causal connection between the injury-in-fact and the
27

28
     defendant’s challenged behavior in that it is precisely the defendant’s denial of Tekway’s petitions


                                                        2
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1    upon these employees’ behalf which will prevent them from working for Tekway after the

2    expiration of their current employment authorization; and (3) it is certain that the injury-in-fact
3
     will be redressed by a favorable ruling in that such a ruling will enable Tekway to continue to
4
     employ these individuals after the expiration of their current employment authorization and so
5
     continue to derive revenues from the sale of their services. Accordingly, Tekway has standing to
6

7    complain of this action. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)

8
                                                VI. VENUE
9

10          6. Pursuant to 28 U.S.C. § 1391(e), venue is proper in the District of Columbia, where the

11   defendant resides.
12

13
                          VII. BRIEF STATEMENT OF PROCEDURAL HISTORY
14

15

16          7. On April 12, 2018 Tekway filed a Form I-129, Petition for Nonimmigrant Worker

17   upon behalf of Jagadish Balusu for the purposes of employing him from October 1, 2018 to
18
     August 22, 2021 in a position which was internally designated as “Application Support-ITRR”
19
     but involved performing the duties of a Software Developer, Applications as described in the
20
     Department of Labor’s Standard Occupational Classification (SOC), pursuant to 8 U.S.C. §
21

22   1101(a)(15)(H)(i)(B), and concurrently applied to change his nonimmigrant status in the U.S.

23   from F-1 (student) to H-1B (specialty occupation worker). The USCIS designated this matter as
24   File No. WAC1815050083.
25
            8. On November 13, 2018, following the USCIS’s issuance of, and Tekway’s response to,
26
     a request for evidence, the USCIS issued decisions denying both the petition for Mr. Balusu and
27

28
     his application for change of status on the grounds that “you have not established that you will be


                                                      3
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1    a ‘United States employer’ having an ‘employer-employee relationship’ with the beneficiary as

2    an H-1B temporary ‘employee.’”.
3
            9. On April 12, 2018 Tekway filed a Form I-129, Petition for Nonimmigrant Worker
4
     upon behalf of Vinaykumar Swarna for the purposes of employing him from October 1, 2018 to
5
     August 22, 2021 in a position which was internally designated as “Application Support-ITRR”
6

7    but involved performing the duties of a Software Developer, Applications as described in the

8    Department of Labor’s Standard Occupational Classification (SOC), pursuant to 8 U.S.C. §
9
     1101(a)(15)(H)(i)(b) and concurrently applied to change Mr. Swarna’s nonimmigrant status in
10
     the U.S. from F-1 (student) to H-1B (specialty occupation worker). The USCIS designated this
11
     matter as File No. WAC 1815650017.
12

13          10. On November 13, 2018, following the USCIS’s issuance of, and Tekway’s response

14   to, a request for evidence, the USCIS issued decisions denying both the petition and the
15
     application upon behalf of Mr. Swarna on the grounds that “you have not established that you
16
     will be a ‘United States employer’ having an ‘employer-employee relationship’ with the
17
     beneficiary as an H-1B temporary ‘employee.’”.
18

19                                      VIII CAUSE OF ACTION

20                                                COUNT II
21

22
     The decision denying Tekway, Inc.’s petition upon behalf of Jagadish Balusu was arbitrary and
23                            capricious and not in accordance with law.
24

25      11.The decision denying Tekway’s petition upon Jagadish Balusu’s behalf (and so,

26   necessarily, his application for change of nonimmigrant status) on the grounds that “you have
27   not established that you will be a ‘United States employer’ having an ‘employer-employee
28


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1    relationship’ with the beneficiary as an H-1B temporary ‘employee.’” was arbitrary and

2    capricious in that it is squarely contradicted by the record and ignores critical evidence. Stellar
3
     IT Sols., Inc. v. United States Citizenship & Immigration Servs., 2018 U.S. Dist. LEXIS 196284,
4
     *3. In particular, the USCIS, aside from mentioning their names, disregarded the following
5
     evidence submitted by Tekway demonstrating that it would have the legal right to control the
6

7    manner and means in which Mr. Balusu’s work would be performed:1

8
         a) Exhibit E to the response to the USCIS’s Request for Evidence 2 , the Employment
9

10            Agreement between Tekway and Mr. Balusu, which provided, among other things, that

11            Tekway was hiring Mr. Balusu, that Mr. Balusu would work at whatever premises were
12
              directed by Tekway, that Tekway would pay Mr. Balusu, and that Tekway had the right to
13
              terminate Mr. Balusu's employment at any time without cause upon written notice after the
14
              completion of 12 consecutive months of employment;
15

16       b) Exhibit G - Tekway's letter of August 20, 2018, in which Pravan Kumar, Project Manager,

17            Operations, of Tekway, certifies that he will be supervising Mr. Balusu in his work-related
18
              duties and responsibilities and that Tekway has the ultimate control and authority over Mr.
19
              Balusu's day-to-day activities at the end client, AT&T, that Mr. Balusu is required to
20
              communicate on a regular basis with Tekway regarding his hours worked, status of
21

22            assignment, performance feedback, and similar matters, that Tekway has the right to hire

23

24

25   1
      All of the evidence and writings referred to in any particular Count refers to the USCIS’s decision denying
     Tekway’s petition upon behalf of the individual reference in the heading pertaining thereto, and the denial of his
26
     change of status.
27   2
       All references to an “Exhibit” in this Amended Complaint shall, hereafter, refer to Exhibits attached to Tekway’s
28   response to the USCIS “Request for Evidence” pertaining to the individual referenced in that particular count.


                                                               5
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1           and fire Mr. Balusu, the right to control his work, the duty to pay him, and the right to

2           assign him additional duties;
3

4    c) Exhibit H- a project status report pertaining to Mr. Balusu showing that he was closely

5       communicating with Tekway regarding his work activities;
6
     d) a work organizational chart (submitted with the petition) showing that Pavan Kumar directly
7
        supervised Mr. Balusu;
8
     e) Exhibit I -timesheets for Mr. Balusu showing that his work hours were being closely
9

10      monitored by Tekway;

11   f) Exhibit J - earnings statements from ADP showing that Tekway was paying Mr. Balusu’s
12
        salary;
13
     g) Exhibit M - a letter from the Pinnacle Group stating that all of Mr. Balusu's day-to-day
14
        activities will be controlled by his employer, Tekway, along with any discretionary decision-
15

16      making such as hiring and firing and performance evaluations;

17   h)Exhibit N - a letter from Shirley Delia, Supplier Liaison, Human Resources, AT&T stating
18
     that “Jagadish Balusu's employer, Tekway, Inc., not AT&T Services or its affiliates, provides
19
     (him) with compensation, has the authority to assign (him) to perform services for one or
20
     another of its customers, has control of its employees and is responsible for payment of salaries,
21

22   administration of benefits and payment of taxes on behalf of its employees for the duration of

23   their employment with it.”
24

25
            12. There are few propositions more firmly settled in the field of labor law than that the
26
     right of control is the gravamen of an employer-employee relationship. See, e.g.,. Clackamas
27

28
     Gastroenterology Assocs., P.C. v. Wells, 538 U.S. 440, 448 (2003), Nationwide Mut. Ins. Co. v.


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1    Darden, 503 U.S. 318, 323 (1992). The right to control the beneficiary is different from actual

2    control. An employer may have the right to control the beneficiary's job-related duties and yet not
3
     exercise actual control over each function performed by that beneficiary. See e.g. Dovell v. Arundel
4
     Supply Corp., 124 U.S. App. D.C. 89, 361 F.2d 543, 545 (1966) (“The vital element which
5
     negatives such independence, in the relation between employer and employee, is the right to
6

7    control the employee, not only as to the final result, but in the performance of the task itself. And,

8    it is the right to control, not control or supervision itself, which is most important. (Footnote
9
     omitted.)” quoting Grace v. Magruder, 80 U.S. App. D.C. 53, 148 F.2d 679, 681 (1945)); Avis
10
     Rent A Car Sys., Inc. v. United States, 503 F.2d 423, 425 n.1 (2d Cir. 1974) ; Trent v. Atl. City
11
     Elec. Co., 334 F.2d 847, 863 (3d Cir. 1964), Weber v. Commissioner, 60 F.3d 1104, 1110 (4th Cir.
12

13   1995); Breaux & Daigle, Inc. v. United States, 900 F.2d 49, 50 (5th Cir. 1990); NLRB v. Cement

14   Transp., Inc., 490 F.2d 1024, 1027 (6th Cir. 1974), Sargent v. Commissioner, 929 F.2d 1252, 1253
15
     (8th Cir. 1991); Chin v. United States, 57 F.3d 722, 725 (9th Cir. 1995), Jones v. Goodson, 121
16
     F.2d 176, 177 (10th Cir. 1941), USCIS Adjudicator’s Field Manual (AFM) § Chapter 31.3 nt.1..3
17
     This is also the only reasonable interpretation of 8 CFR § 214.2(h)(4)(ii)(2) which defines a
18

19   “United States employer” as one who has an employer-employee relationship with respect to

20   employees under this part, as indicated by the fact that it may hire, pay, fire, supervise, or otherwise
21
     control the work of any such employee ....”. (emphasis added).The fact that an employer “may”
22
     control the work of an employee (rather than “must” 4 ) demonstrates that, consistent with
23

24
     3
       “Policy material is binding on all USCIS officers and must be adhered to unless and until revised,
25   rescinded or superseded by law, regulation or subsequent policy, either specifically or by
     application of more recent policy material. …Examples of policy materials are: Field and
26   Administrative Manuals” AFR 3.4. Thus, the AFM, being an administrative manual, is a policy
27
     material binding on all USCIS officers.
     4
       The Oxford Online Dictionary offers several definitions of “may”, only one of which is
28
     remotely applicable here: “Used to ask for or to give permission.

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1    Clackamas, Darden, the decisions of at least 9 circuit courts of appeal and the USCIS’s own AFM,

2    it is only the right to control and not the actual exercise of the same which is determinative of an
3
     employer-employee relationship.
4

5           13. The centrality of the right to control (and not actual control) to the employer-
6
     employee relationship is effectively conceded by the USCIS in this decision when it claims that
7
     “the record has been reviewed in its entirety to establish whether you have the right to control the
8
     beneficiary's employment at the third-party end client and it has been determined that you have
9

10   not met the employer-employee relationship test”.

11

12
            14. Inasmuch as "an agency cannot ignore evidence contradicting its position.", Stellar
13
     IT Sols., Inc. v. United States Citizenship & Immigration Servs., 2018 U.S. Dist. LEXIS 196284,
14
     *23 quoting Genuine Parts Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir. 2018) (quoting Butte Cty.
15

16   v. Hogen, 613 F.3d 190, 194, 392 U.S. App. D.C. 25 (D.C. Cir. 2010)), therefore this decision’s

17   disregard of virtually all of Tekway’s voluminous evidence showing that it had the right to
18
     control the beneficiary’s work activities, and so had an employer-employee relationship with
19
     him, was arbitrary and capricious.
20

21

22
     ‘you may confirm my identity with your Case Officer, if you wish’
23
     ‘may I ask a few questions?’
24   …
    ‘None of the text or images from this site may be reproduced in whole or part without written
25
     permission.’ Accordingly there is no circumstances in which the word “may” can convey the idea
26   that an employer must control his employ, but rather shows that he merely has permission to do –
     that is that he has the right to control, whether he chooses to exercise it or not. Or perhaps to cite
27
     a more familiar example, the fact that a court “may” grant oral argument in a case certainly doesn’t
28   oblige it to do so.

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1           15. Further, inasmuch as there is no evidence in the record that shows that Tekway does

2    not have the right to control Mr. Balusu’s work activities, the decision is also arbitrary and
3
     capricious because it runs counter to the evidence in the record. "[I]f the agency has . . . offered
4
     an explanation for its decision that runs counter to the evidence," its action is generally deemed
5
     arbitrary and capricious.” Stellar IT Sols., Inc. v. United States Citizenship & Immigration Servs.,
6

7    2018 U.S. Dist. LEXIS 196284, *17-18 , quoting Animal Legal Defense Fund, Inc. v. Perdue,

8    872 F.3d 602, 611 (D.C. Cir. 2017). (quoting Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State
9
     Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).
10

11

12

13          16. Further, the decision is also arbitrary and capricious because the USCIS likewise failed

14   to consider the following referenced contradictory evidence in making the following factual
15
     conclusions:
16
     a) The conclusion that “the present record does not sufficiently demonstrate: … The skill
17
     required to perform the specialty occupation;”: disregarded the following contradictory evidence
18

19   of the skill required to perform the specialty occupation:

20   i) EXHIBIT A to the petitioner’s request for evidence, the Expert Opinion Letter issued by Full
21
     Adjunct Professor, Dr. Michael K. Lavine, of Cyber Security at the University of Maryland-
22
     University College, indicating the education required to perform the position;
23
     ii) EXHIBIT C - the Past Practice letter issued by Tekway indicating the education required to
24

25   perform the position;

26

27

28


                                                       9
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1    iii) EXHIBIT D - the Affidavit from Shashidhar Devireddy, Project Manager, Operations of

2    Lucid Technologies, indicating the educational requirements for the offered position in his
3
     organization;
4
     b) “the present record does not sufficiently demonstrate: … Whether you have the right to assign
5
     additional work to the beneficiary while he is performing services for AT&T at their place of
6

7    business;”: The USCIS, in coming to this conclusion, failed to consider the following contradictory

8    evidence: Exhibit L, Detailed Job Description and Exhibit N, end client letter from AT&T, both
9
     of which show that Tekway does in fact have the right to assign additional work to the beneficiary
10
     while he is performing services for AT&T at its place of business.
11
     c) “the present record does not sufficiently demonstrate: … Whether you can fire the beneficiary
12

13   or set rules and regulations on the work the beneficiary will be performing for AT&T;”: In coming

14   to this conclusion, the USCIS failed to consider the following contradictory evidence:
15
     i) Exhibit E, Employment Agreement, showing that Tekway had the right to fire the beneficiary
16
     and
17
     ii)   Exhibits G, M & N all showing that Tekway has the right to control Mr. Balusu’s work
18

19   activities, which would necessarily include the right to set rules and regulations on the work he

20   would be performing for AT&T;
21
     d) the finding that “the present record does not sufficiently demonstrate …Availability of specialty
22
     occupation work” did not consider the following contradictory evidence: EXHIBITS K, L, M &
23
     N, showing that Mr. Balusu would be working as a Software Developer at AT&T’s location which
24

25   EXHIBIT A (the Expert Opinion Letter) and EXHIBIT B2, excerpts from the Occupational

26   Outlook Handbook, established, and this decision did not dispute, is a specialty occupation;
27

28


                                                     10
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1    e) The finding that “the present record does not        sufficiently demonstrate: …Whether the

2    beneficiary reports to someone higher in your organization” did not consider the contradictory
3
     evidence contained in EXHIBITS F & G, both of which show that Tekway’s Project Manager,
4
     Operations, Mr. Pavan Kumar, closely supervises and evaluates Mr. Balusu’s work at the end
5
     client location;
6

7    f) The finding that “the present record does not sufficiently demonstrate: …Whether, and if so, to

8    what extent you will supervise the beneficiary's work while he is performing services for AT&T”
9
     disregards the following contradictory evidence: EXHIBITS F & G, both of which show that
10
     Tekway’s Project Manager, Operations, Mr. Pavan Kumar, supervises and evaluates Mr. Balusu’s
11
     work at the end client location.
12

13

14           17. The decision is also not in accordance with law in that it is premised on the erroneous
15
     assumption that to establish an employer-employee relationship with Mr. Balusu, Tekway needed
16
     to show it actually controlled his work. However, as shown above, under two decisions of the U.S.
17
     Supreme Court, the decisions of 9 Circuit Courts of Appeal (including the D.C. Circuit), the
18

19   USCIS’s own binding Adjudicator’s Field Manual, and two USCIS policy memorandums, only

20   the right to control is required to establish an employer-employee relationship, and actual control
21
     is irrelevant.
22
             18. For example, the decision demonstrates that it denied this petition because Tekway
23
             supposedly did not prove that it actually controlled Mr. Balusu’s work activities through
24

25           its comment that “the emails submitted between the beneficiary and end-client

26           employees do not include you and indicate the beneficiary is taking direction from the
27           end-client. Your organizational chart shows 25 employees reporting to Pavan Kumar,
28


                                                     11
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1           who you state will remotely supervise the beneficiary's work but you did not sufficiently

2           explain how this will be done” and that “USCIS cannot determine … the manner in
3
            which you intend to control the beneficiary's work and day-to-day activities”, all of
4
            which show that the decision was premised upon the legal error that actual control was
5
            required to establish and employer-employee relationship, while it is very well-
6

7           established that only the right to control is required.

8                 19 .The decision is also arbitrary and capricious for yet another reason: it has
9
            offered an additional explanation for its conclusions that also runs counter to the
10
            evidence, that being “Without further evidence to support the existence of a valid project
11
            at your office, USCIS cannot determine that you will be able to provide work for the
12

13          beneficiary, and the manner in which you intend to control the beneficiary's work and

14          day-to-day activities..”
15
            20. This claim is manifestly counter to the evidence in that Tekway never so much as
16

17   suggested that Mr. Balusu would be performing services at its office at 410 STERLING RD,

18   DOWNERS GROVE, IL 60515. Rather, it has consistently maintained that he would be
19
     providing services on the premises of AT&T and the existence of a “valid project” there is
20
     documented by Exhibit N, letter from AT&T, thereby establishing that the Tekway will be able
21
     to provide work for Mr. Balusu.
22

23
            21. 5 U.S.C. § 706 provides in material part that:
24
            The reviewing court shall—
25
            …
26

27          (2) hold unlawful and set aside agency action, findings, and conclusions found to be—

28          (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law

                                                      12
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1

2    WHEREFORE it is respectfully requested that this Court hold unlawful and set aside the USCIS’s
3
     decision denying Tekway’s petition for nonimmigrant worker upon Jagadish Balusu’s behalf and
4
     Mr. Balasu’s application for change of nonimmigrant status, on the grounds that they were both
5
     arbitrary and capricious and not in accordance with law.
6

7                                                 COUNT V

8    The decision denying Tekway, Inc.’s petition upon behalf of Vinaykumar Swarna was arbitrary
                            and capricious and not in accordance with law.
9

10
            22.The decision denying Tekway’s petition upon Vinaykumar Swarna’s behalf (and so,
11
     necessarily, his application for change of nonimmigrant status) on the grounds that “you have not
12

13   established that you will be a ‘United States employer’ having an                ‘employer-employee

14   relationship’ with the beneficiary as an H-1B temporary ‘employee.’” was arbitrary and capricious
15
     in that it is squarely contradicted by the record and ignores critical evidence. Stellar IT Sols., Inc.
16
     v. United States Citizenship & Immigration Servs., 2018 U.S. Dist. LEXIS 196284, *3. In
17
     particular, the USCIS, aside from mentioning their names, disregarded the following evidence
18

19   submitted by Tekway demonstrating that it would have the legal right to control the manner and

20   means in which Mr. Swarna’s work would be performed:
21
     a) Exhibit E to the response to the USCIS’s Request for Evidence pertaining to Mr. Swarna - the
22
     Employment Agreement between Tekway and Mr. Swarna - which provided, among other things,
23
     that Tekway was hiring Mr. Swarna, that Mr. Swarna would work at whatever premises were
24

25   directed by Tekway, that Tekway would pay Mr. Swarna, and that Tekway had the right to

26   terminate Mr. Swarna's employment at any time without cause upon written notice after the
27   completion of 12 consecutive months of employment;
28


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1    b)Exhibit G - in which Pravan Kumar, Project Manager, Operations, of Tekway, certifies that he

2    will be supervising Mr. Swarna in his work-related duties and responsibilities and that Tekway has
3
     the ultimate control and authority over Mr. Swarna's day-to-day activities at the end client, AT&T,
4
     that Mr. Swarna is required to communicate on a regular basis with Tekway regarding his hours
5
     worked, status of assignment, performance feedback, and similar matters, that Tekway has the
6

7    right to hire and fire Mr. Swarna, the right to control his work, the duty to pay him, and the right

8    to assign him additional duties;
9

10
     c)        Exhibit H- a project status report pertaining to Mr. Swarna showing that he was closely
11
     communicating with Tekway regarding his work activities;
12

13   d)        a work organizational chart (submitted with the petition upon Mr. Swarna’s behalf )

14   showing that Pavan Kumar directly supervised Mr. Swarna upon Tekway’s behalf;
15
     e)        Exhibit I -timesheets for Mr. Swarna showing that his work hours were being closely
16
     monitored by Tekway;
17
     f)        Exhibit J - earnings statements from ADP showing that Tekway was paying Mr. Swarna’s
18

19   salary;

20   g)        Exhibit M - a letter from the Pinnacle Group stating that all of Mr. Swarna's day-to-day
21
     activities will be controlled by his employer, Tekway, along with any discretionary decision-
22
     making such as hiring and firing and performance evaluations;
23
      h) Exhibit N - a letter from Shirley Delia, Supplier Liaison, Human Resources, AT&T, stating
24

25    that “ Vinay Kumar Swarna's employer. Tekway, Inc., not AT&T Services or its affiliates,

26    provides them with compensation, has the authority to assign them to perform services
27    for one or another of its customers. has control of its employees and is responsible for
28


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1     payment of salaries, administration of benefits and payment of taxes on behalf of its

2     employees for the duration of their employment with it.
3
            23. As shown above, there are few propositions more firmly settled in the field of labor
4
     law than that the right of control is the gravamen of an employer-employee relationship.
5
            24. The centrality of the right to control (and not actual control) to the employer-employee
6

7    relationship is effectively conceded by the USCIS in this decision when it claims that “the record

8    has been reviewed in its entirety to establish whether you have the right to control the beneficiary's
9
     employment at the third-party end client and it has been determined that you have not met the
10
     employer-employee relationship test”. (emphasis added)
11
            25. Inasmuch as "an agency cannot ignore evidence contradicting its position.", Stellar IT
12

13   Sols., Inc. v. United States Citizenship & Immigration Servs., 2018 U.S. Dist. LEXIS 196284, *23

14   quoting Genuine Parts Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir. 2018) (quoting Butte Cty. v.
15
     Hogen, 613 F.3d 190, 194, 392 U.S. App. D.C. 25 (D.C. Cir. 2010)), therefore this decision’s
16
     disregard of virtually all of Tekway’s voluminous evidence showing that it had the right to control
17
     Mr. Swarna’s work activities, and so had an employer-employee relationship with him, was
18

19   arbitrary and capricious.

20          26. Further, inasmuch as there is no evidence in the record that shows that Tekway does
21
     not have the right to control Mr. Swarna’s work activities, the decision is also arbitrary and
22
     capricious because it runs counter to the evidence in the record. "[I]f the agency has . . . offered an
23
     explanation for its decision that runs counter to the evidence," its action is generally deemed
24

25   arbitrary and capricious.” Stellar IT Sols., Inc. v. United States Citizenship & Immigration Servs.,

26   2018 U.S. Dist. LEXIS 196284, *17-18 , quoting Animal Legal Defense Fund, Inc. v. Perdue, 872
27

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                                                       15
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1    F.3d 602, 611 (D.C. Cir. 2017). (quoting Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm

2    Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).
3
            27. Further, the decision is also arbitrary and capricious because the USCIS has likewise
4
     failed to consider the following referenced contradictory evidence in making these factual
5
     conclusions:
6

7    a) The conclusion that “the present record does not sufficiently demonstrate: … The skill required

8    to perform the specialty occupation;”: disregarded the following contradictory evidence:
9
     i) EXHIBIT A to Tekway’s response to the USCIS’s request for evidence is the Expert Opinion
10
     Letter issued by Full Adjunct Professor, Dr. Michael K. Lavine, of Cyber Security at the University
11
     of Maryland-University College, indicating the education required to perform the position;
12

13   ii) EXHIBIT C - the Past Practice letter issued by Tekway indicating the education required to

14   perform the position;
15
     iii) EXHIBIT D - the Affidavit from Shashidhar Devireddy, Project Manager, Operations, of Lucid
16
     Technologies, indicating the educational requirements for the offered position in his organization;
17
     b) “the present record does not sufficiently demonstrate: … Whether you have the right to assign
18

19   additional work to the beneficiary while he is performing

20   services for AT&T at their place of business;”: The USCIS, in coming to this conclusion, failed to
21
     consider the following contradictory evidence: Exhibit L, Detailed Job Description and Exhibit N,
22
     end client letter from AT&T, both of which show that Tekway does in fact have the right to assign
23
     additional work to Mr. Swarna while he is performing services for AT&T at its place of business;
24

25   c) “the present record does not sufficiently demonstrate: … Whether you can fire the beneficiary

26   or set rules and regulations on the work the beneficiary
27

28


                                                     16
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1    will be performing for AT&T;”: In coming to this conclusion, the USCIS failed to consider the

2    following contradictory evidence:
3
     i)      Exhibit E, Employment Agreement, showing that Tekway had the right to fire the
4
     beneficiary; and
5
     ii)   Exhibits G, M & N, all showing that Tekway has the right to control Mr. Swarna’s work
6

7    activities, which would necessarily include the right to set rules and regulations on the work he

8    would be performing for AT&T;
9
     d) the finding that “the present record does not sufficiently demonstrate …Availability of specialty
10
     occupation work” did not consider the following contradictory evidence: EXHIBITS K, L, M &
11
     N, showing that Mr. Swarna would be working as a Software Developer at AT&T’s location until
12

13   at least December 27, 2019 (with the possibility of extension), which both EXHIBIT A (the Expert

14   Opinion Letter) and EXHIBIT B2 (excerpt from the Occupational Outlook Handbook) established,
15
     and this decision did not dispute, is a specialty occupation;
16
     e) The finding that “the present record does not sufficiently demonstrate: …
17
     Whether the beneficiary reports to someone higher in your organization” did not consider the
18

19   contradictory evidence contained in EXHIBITS F & G, both of which show that Tekway’s Project

20   Manager, Operations, Mr. Pavan Kumar, closely supervises and evaluates Mr. Swarna’s work at
21
     the end client location;
22
     f) The finding that “the present record does not sufficiently demonstrate: …Whether, and if so, to
23
     what extent you will supervise the beneficiary's work while he is performing services for AT&T”
24

25   disregards the following contradictory evidence: EXHIBITS F & G, both of which show that

26   Tekway’s Project Manager, Operations, Mr. Pavan Kumar, supervises and evaluates Mr. Swarna’s
27   work at the end client location.
28


                                                      17
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1           28. The decision is also not in accordance with law in that it is premised on the erroneous

2    assumption that to establish an employer-employee relationship with Mr. Swarna, Tekway needed
3
     to show it actually controlled his work. However, as shown above, only the right to control is
4
     required to establish an employer-employee relationship, and actual control is irrelevant.
5
            29. For example, the decision demonstrates that it denied this petition because Tekway
6

7    supposedly did not prove that it actually controlled Mr. Swarna’s work activities through its

8    comment that “the emails submitted between the beneficiary and end-client employees do not
9
     include you and indicate the beneficiary is taking direction from the end-client. Your
10
     organizational chart shows 25 employees reporting to Pavan Kumar, who you state will remotely
11
     supervise the beneficiary's work but you did not sufficiently explain how this will be done” and
12

13   that “USCIS cannot determine … the manner in which you intend to control the beneficiary's

14   work and day-to-day activities”, all of which show that the decision was premised upon the legal
15
     error that actual control was required to establish an employer-employee relationship.
16

17
            30. The decision is also arbitrary and capricious for yet another reason: it has offered an
18

19   additional explanation for its conclusions that also runs counter to the evidence, that being

20   “Without further evidence to support the existence of a valid project at your office, USCIS cannot
21
     determine that you will be able to provide work for the beneficiary, and the manner in which you
22
     intend to control the beneficiary's work and day-to-day activities.”.
23
            31. This claim is manifestly counter to the evidence in that Tekway never so much as
24

25   suggested that Mr. Swarna would be performing services at its office at 410 STERLING RD,

26   DOWNERS GROVE, IL 60515. Rather, it has consistently maintained that he would be providing
27   services on the premises of AT&T and the existence of a “valid project” there is documented by
28


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1    Exhibit N, letter from AT&T, thereby establishing that Tekway will be able to provide work for

2    Mr. Swarna.
3
            32. 5 U.S.C. § 706 provides in material part that:
4
     The reviewing court shall—
5
     …
6

7    (2) hold unlawful and set aside agency action, findings, and conclusions found to be—

8    (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law … .
9
     WHEREFORE it is respectfully requested that this Court hold unlawful and set aside the USCIS’s
10
     decision denying Tekway’s petition for nonimmigrant worker upon Vinaykumar Swarna’s behalf
11
     and Mr. Swarna’s application for change of nonimmigrant status, on the grounds that they were
12

13   both arbitrary and capricious and not in accordance with law.

14   Respectfully submitted this 11th day of February, 2019
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